Case 1:11-cv-07550-GBD-SN Document 372-8 Filed 03/03/22 Page 1 of 2




                   EXHIBIT 8
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, Home / Region / Americas / Oaktree debuts another alternative capital provider for shipping


 Americas    Finance and Insurance




Oaktree debuts another alternative
capital provider for shipping
      Grant Rowles         • October 13, 2017                                                                              * 387   + 1 minute read




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Oaktree has debuted a new alternative capital provider. Fleetscape Capital Holdings completed a final
closing on Thursday of its first investment capital raise. Fleetscape notched up total investor commitments
of $400m. The capital was raised from funds managed by Oaktree Capital Management.


In a release, Fleetscape said it was aiming at creating a diversified portfolio of primary investments across
various segments of the maritime space, including shipping and offshore. Its product offering includes
leases, loans and preferred equity.


“The strong investor appetite shown in Fleetscape reflects the realisation that access to capital in the
maritime space has materially changed over the past several years. There has been a fundamental shift in
the way that this capital-intensive industry funds itself, with alternative structured capital providers
becoming an integral and substantial part of funding commitments,” Fleetscape claimed.


“We believe that a favourable investment climate exists for our alternative credit strategy, as the maritime
                                                                                                                                                             Recent                  Popular              Comments
sector continues to suffer from the retrenchment of its traditional capital sources. By combining Oaktree’s
history of investing in the maritime space and our experience in structuring tailor-made transactions, we
believe that Fleetscape will be a leading creative, flexible and innovative investment partner for the shipping                                                                     MOL’s fire-ravaged car carrier
                                                                                                                                                                                    sinks off the Azores
and offshore industries for the long-term,” said Guillaume Bayol, senior vice president at Oaktree.
                                                                                                                                                                                    ( March 1, 2022


Fleetscape is led by former Icon Investments head of shipping Tobias Backer, who joined Oaktree last year.                                                                          Hafnia agrees $414m sale and
                                                                                                                                                                                    leaseback deal for Scorpio LR1
Speaking to Splash, Backer said that Fleetscape will be sector agnostic and have a world-wide mandate.                                                                              fleet
                                                                                                                                                                                    ( March 1, 2022

“We are very much focused on counterparty risk rather than specific vessel investment, so even though we                                                                            Braemar exits logistics with
have our own views on which market segments are the best to invest in, we follow the clients rather than                                                                            Cory Brothers sale
                                                                                                                                                                                    ( March 1, 2022
the assets,” Backer said.

                                                                                                                                                                                    Norwegian hydrogen-
                                                                                                                                                                                    powered bulker to enter
                                                                                                                                                                                    service in 2024
                                                                                                                                                                                    ( March 1, 2022


                                                                                                                                                                                    Shelf Drilling awarded new
                                                                                                                                                                                    contract in Nigeria
                                                                                                                                                                                    ( March 1, 2022
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                           Grant Rowles
                           Grant spent nine years at Informa Group based in London, Sydney, Hong Kong and Singapore. He gained
                           strong management experience in publishing, conferences and awards schemes in the shipping and legal
                           areas, working on a number of titles including Lloyd's List. In 2009 Grant joined Seatrade responsible for
                           the commercial development of Seatrade’s Asia products. In 2012, with Sam Chambers, he co-founded
                           Asia Shipping Media.

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